The evidence sustains the verdict.
                          DECIDED MAY 9, 1944. *Page 97 
The defendant was convicted of arson. His motion for a new trial was overruled, and he excepted. The evidence shows substantially that Dan Graves, father of the defendant, rented a farm from the prosecutor, and that the defendant, with his wife and children, moved into the farmhouse with his father. It appears that the defendant had nothing to do with farming the place, but that he did abuse the landlord's stock by unreasonable use without authority, the landlord having prohibited his use of the stock. On the day the fire occurred, the defendant's wife and children were at her father's home. The defendant, his sister, and her three children were at the home of the defendant's father. His sister testified that she had been there during the day, attending to the curing of tobacco, and also doing some ironing in the kitchen, heating her irons on a wood-burning stove. Approximately an hour and a half before sunset the defendant arrived at the farmhouse. He went into the house and remained a short time, then went to the tobacco barn, where his sister and her children were. Upon his arrival at the barn, his sister went into the house and found the bedding burning in the room where he and his wife had been staying. She poured water on the mattress, removed some of the articles from the room, and left the house. However, while she was in the act of extinguishing the fire, three of the neighbors drove near the farmhouse, riding in a one-horse wagon. These neighbors consisted of a father, his son, and his son-in-law. The defendant's mother had sent for them for assistance. The record does not reveal where she left from to go to the neighbors' house, or just what her message to the neighbors was. On arrival of the neighbors, the sister of the accused disappeared with her children across the field near a branch. She testified that she left because she did not like to stay around the house while the defendant, who was drunk, was there. When the neighbors arrived, the defendant ran out of the front part of the house and met them before they reached the house. He protested their entering the house, and the two boys yielded to his commands. The father, however, disregarded the defendant's commands and importunities and entered the house over his protests. Before entering the house the neighbors observed smoke coming from the house through the doors. *Page 98 
On entering the house a neighbor found the bedding afire — a feather bed, a cotton bed, a pillow, and a quit. He carried the articles to the porch, and by pulling some of the cotton out and pouring water on the articles, put the fire out — as he thought. After the neighbors arrived and were met by the defendant, and during the conversation with him concerning the fire, one of them asked him: "What he wanted to burn up what his daddy had for," and he said: "It weren't none of my damn business; that I didn't have nothing in there . . He said he was going to raise hell that night and be gone to Pearl Harbor the next morning." The three neighbors remained around the house about an hour. Before leaving, the bedding was carried away from the house and placed on the fence. On this point the evidence is: "I could see there had already been some water poured on the bed; the bed was wet, and the floor was wet under it. I went out and stayed a while after I outed it, and I went back, and there was a little hole in the quilt I hadn't got out, was all I could find. I wouldn't swear there wasn't another one there somewhere. There was no smoke about it. I don't say that I did out it, but I poured water all over it. After I got it out I toted it out and hung it on the fence away from the house. I went all over the house and looked for fire. I went in the kitchen too, I didn't know or notice there was a fire in the kitchen stove." The evidence shows that, in addition to removing the articles referred to, the premises were inspected inside and out, after which the neighbors left, satisfied that no fire remained in the house.
The evidence does not reveal just how far the tobacco barn was from the house, nor when the heat therein had been last replenished. The evidence does reveal that there was a partition between the kitchen and the room where the bedding was afire; and also that the stove pipe did not extend the entire length of the flue. It does appear that the fire in the stove had not been replenished for several hours. The defendant made no effort to assist either his sister or the neighbors, either in extinguishing the fire or in removing any of the articles from the house. His sister testified, and the defendant claimed in his statement, that he was under the influence of liquor. He exhibited a very accurate memory of the events before and after the fire for a person who was alleged to have been drunk. The neighbors who arrived on the scene testified *Page 99 
on this point that, if the defendant was drinking, they could not tell it, and that he did not stagger. It does appear, however, that the neighbor-father who entered the house over the protest of the defendant had informed the defendant that he would "knock the fool out of him." The defendant did make some display of foolish affection by embracing the neighbor-father. When the neighbors left no one was at the house except the defendant. In about an hour and a half the same three neighbors observed the house being consumed by fire and returned to the premises. When they got there the defendant was at the tobacco barn lying down. No one else appeared to be thereabouts. The house was completely burned. There was supposed to have been in the house about 1800 pounds of tobacco, worth about $700, and, in the room which the defendant occupied, certain articles of furniture and some wearing apparel of his family.
It is contended by the plaintiff in error that the evidence is insufficient to sustain a conviction; that it does not exclude the reasonable hypothesis that the house did not burn from a spark from the flue on the kitchen stove, or one from the tobacco barn, or from a cigarette which the defendant in an intoxicated condition carelessly dropped on some of the bedding. It is conceded by the State that to sustain a conviction on circumstantial evidence, the proved facts must not only be consistent with the hypothesis of guilt, but must exclude every other reasonable hypothesis save that of the guilt of the accused. This means simply that the evidence must be consistent with his guilt and inconsistent with his innocence. The proved facts must not only be consistent with such reasonable hypotheses of guilt as are ordinarily drawn by ordinary men in the light of their experiences in everyday life, but must exclude every other reasonable inference so drawn save the guilt of the accused. When we measure this case by that yard-stick, it is our view that the evidence sustains the verdict. To sustain a conviction, it is not required that the evidence exclude every possibility or every inference that may be drawn from proved facts, It is only necessary to exclude reasonable inferences and reasonable hypotheses which may be drawn from the evidence under all the *Page 100 
facts and circumstances surrounding the particular case. It may be that the defendant was under the influence of intoxicating liquor to the extent that his sense of morality and responsibility was deadened so that he was prompted to do the unreasonable things which the evidence reveals he did. However, drunkenness is no excuse for crime. Code, § 26-403. His conduct certainly reveals that his acts in this case were abnormal; but so also is the conduct of practically all criminals. That is the very reason why they are condemned, and ostracized for the public good. We are but to take his conduct under the surrounding facts and circumstances and as reasonable men draw reasonable inferences to determine his guilt, and the law does not require any further delving into the motives which activated him, provided he was mentally capable of forming the criminal intent. No doubt the jury took into consideration the defendant's conduct toward his sister, and that of his mother in taking refuge in the assistance of neighbors.
It is argued that the defendant would not have intentionally burned the house in which he had his personal effects stored. Men have done worse. It might with equal force be contended that if he had cared anything about them he would have assisted his sister and the neighbors in putting out the fire and removing his possessions. He did neither. Under the evidence the jury were authorized to find that the fire was of incendiary origin and that the defendant originated it.
The court did not err in overruling the motion for new trial.
Judgment affirmed. Broyles, C. J., and MacIntyre, J., concur.